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             PSJ3
           Exhibit 688
                                                                                                                                                                             JAN-MS-00938504 (Native)
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   2010 Schedule for Additional Funding
                                      Amount Given                           Amount
                                     Over A One-Year        Amount           Initially   Supplemental     Revised
             Organization                 Period           Requested        Approved       Donation       Donation                     Purpose of Donation


                                                                                                                       Toward Improved Pain Assessment in Persons with
                                                                                                                       Dementia ‐ support the production and dissemination
                                                                                                                       of a self‐study toolkit, train‐the‐trainer manual,
  American Hospice Foundation,                                                                                         "Achieving Best Practices in Palliative Care for
1 Inc.                                       N/A             149,757          10,000        10,000            20,000   Dementia Residents: Steps for Success"
                                                                                                                       Support of Comprehensive Juvenile Offenders
2 PEI Kids                                  7,500             15,000          9,500         5,000             14,500   Outreach program

  Habitat for Humanity Raritan                                                                                         Partner with other J&J companies to sponsor a house
3 Valley                                   20,000             35,000          25,000        10,000            35,000   in Lambertville, NJ


                                                                                                                       Community Youth Center ($5,000) and Outreach
4 Middle Earth                              9,000             15,000          10,000        5,000             15,000   Program ($10,000)
                                                                                                                       Support Partners in Recovery partial care program
                                                                                                                       ($15,000), Support Transitional Residential and
5 Catholic Charities                       20,000             40,000          25,000        5,000             30,000   Supportive Housing services program ($15,000)

                                                                                                                       Support Typical or Troubled program ($100,000).
                                                                                                                       Support Partnership for Workplace Mental Health
6 American Psychiatric Foundation          380,000           200,000         100,000        35,000           135,000   program ($35,000)
                                                                                                                       NAMI Basics ($115,000), NAMI 2011 Campaign for a
7 NAMI National                            300,000           360,000         230,000        15,000         245,000     Better Tomorrow ($130,000)

  Greater Trenton Behavioral
8 Healthcare                               25,000             24,992          20,000        5,000          25,000      Support Life Skills Learning Pilot Project

                                                                                                                       Support Primary Care and Behavioral Healthcare
                                                                                                                       Learning Community ($75,000), Behavioral Health
  National Council for Community                                                                                       Leadership Initiative ($100,000), and Policy Action
9 Behavioral Healthcare                    310,000           400,000         250,000        25,000         275,000     Center $100,000)

                                                                                                115,000

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